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                                                                                           FILED
                                                                                     US DISTRICT COURT
                                In the United States District Court                  WESTERN DISTRICT
                                        Westem District Of Arkansas                    OF ARKANSAS
                                        - - - - Division                               Feb 29, 2024
                                                                                  OFFICE OF THE CLERK


   (In the space above enter your full name and Prison ID
   Number, if any. Do not inclu<leyourSocial Security Number).


                                                                                  Case
                                -against-                                    6:24-cv-06022
                                                                        No. _ _ _ _ __
                                                                      (To be filled out by Clerk's
c('_ TC)            CJ 1-} ,f ecl{_ co [:I} I ca4t ,4 I)_ Office only)
  Cbmwrf<J'u-ty di.e,tJo<;lt-5                        r   CO'YYl         COMPLAINT
                                    t                                     ~
  CPw-0> v71 l'C&-fbl.-cro s: / Com ,n , s: s:o4
                                                                            Jury Demand?
   VJtk~_,Jv~      d tv(5 LOYZ S'                                                ~
                                                                                 □ No
   (In the space above enter the full name of each Defendant)

                                NOTICE

    Do not attach exhibits, affidavits, grievances, witness
   statements, or any other materials to your Complaint. Any
   materials other than the Complaint wm be returned to you
   untiled by the Clerk's Office.



  I.       PLAINTIFF INFORMATION



       Name (First, Middle, Last)                                          Aliases


       Prisoner iD #, if any·


       Place~ tiooorfn;arceration


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        Address (If detained, facility address)

    ~~ CD u v rf 'f                                   hibJJ11..f ·rl)IJ
        County, ity        .                          State                     Zip Code

  II.       PRISONERSTATUS

  Indicate whether you are a prisoner or other confined person as follows:

  ~ r i a l detainee

  D Convicted and serving a sentence. Provide Date of Conviction _ _ _ _ _ _ _ _ __
  □ Other.Explain: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  III.      DEFENDANT(S) INFORMATION

  Please list the following information for each defendant. If the correct information is not provided, it
  could result in the delay or prevention of service. If you need more space for additional defendants,
  list the additional defendants on another piece ofpaper, providing the same information. Do not list
  witnesses. The jail or detention center is a building and cannot be sued

        Defendant 1:   ·c,,,viy f..eJR CC>J-y)
                         Name (Last, First)

                        8U 513-v'f  c~J t;'-..PdLA/'01!.-
                         Current Job Title

                         LJ 5 o I      '/)It a,,,   I en -e    i rf r..e ~ t-
                         current Work Address

                                                                            71 /I I
                         County, City                              State            Zip Code




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    Defendant 2:
                    Name (Last, First)


                    Current Job Title


                    Current Work Address


                    County, City                          State           Zip Code



     Defendant 3:
                    Name (Last, First)


                    Current Job Title


                    Current Work Address

                    County, City                          State           Zip Code


     Defendant 4:
                    Name (Last, First)


                    Current Job Title


                    Current Work Address


                    County, City                          State           Zip Code




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  IV.    STATEMENTOFCJLAIMS

  State every ground on which you claim that one or more of the Defendants violated your federal
  constitutional rights. List each c/(1im separately (e.g., excessive force, denial of medical care, access
  to the courts, conditions of confinement, etc.). ff you have more than three separate claims, you may
  attach additional sheets ofpaper, providing the same infonnationfor each claim. You may attach no
  more titan one additional sheet.for each claim.

    Claim Number 1:

   Place(s) of
   occurrence:              D111J11fu/(nY]W'(                   Coonrfy         {J)ff~citM ~n/e,R

                                  -        ~?,,)
   Date(s) of occurrence:   d   £{,    J 0- f-e l:t / 5{ 2.{) 2 l/
   Name of Each Defendant Involved:        t,lAJ-f/ V 'S rj--   1$ -   2lJ T H




   State which of your federal constitutional rights (e.g., excessive force, denial of medical care,
  ,conditions of confinement, etc.) or federal statutory rights have been violated:




   prac<1>         G o-u q t»f- I +o t.7 ad outtcd'.,, o R ,;1,;-w rl/'o>1),
  State here briefly the FACTS that support your case. Describe how EACH DEFENDANT was
  personally involved in the alleged wrongful actions, state whether you were physically injured as a
  result of those actions, and if so, state your injwy and what medical attention was provided to you.




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Who did
what?



How were
you
in'ured?         S:iwlecl !AN den\_t Yov~ h yM.l yov
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                 ~::::&rr9::f:::f:;;~~::;
                  ~ ( t Mt mo-,n,...uj
                                                                              = Er::!
                                                               lhlYUy cu:,-~ Cb( o-,r),,;l'jl-
           with reg~ c $ID~ e ~u ~in'g Defendant(s) in his/her/their: •               ••

            ~ficial capacity only (An official capacity claim is the same as suing the governmental
               entity the Defendant(s) work(s) for and requires proof that a custom, policy, or
               widespread practice of the governmental entity caused the violation).
            D  Individual capacity only (An individual capacity claim is one that seeks to hold an
               individual liable for his own actions taken in the course of his duties).
            D  Both Official and Individual capacity

          If you are asserting tin official cllpacity claim, please describe the custom, policy, or
          widespread practice that you believe caused the violation ofyour constitutional rights.




           Claim Number 2:

          Place(s) of
          occurrence:




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             Date(s) of occurrence:

             Name of Each Defendant Involved:




         State which of your federal constitutional rights (e.g., excessive force, denial of medical care,
         conditions of confinement, etc.) or.federal statuto1y rights have been violated:




         State here briefly the FACTS that support your case. Describe how EACH DEFENDANT was
         personally involved in the _alleged wrongful actions, state whether you were physically injured as a
         result of those actions, and if so, state your injwy and1,1 1hat medical attention was provided to you.
         FACTS:


 What
  happened
'-
  to you?


 Who
 did
 what?


 How were
 you
 injured?
-




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    With regard to claim 2, are you suingDefendant(s) in his/her/their:

     D     Official capacity only (An official capacity claim is the same as suing the governmental
           entity the Defendant(s) work(s) for and requires proof that a custom, policy, or
           widespread practice of the governmental entity caused the alleged violation);
     D     Individual capacity only (An individual capacity claim is one that seeks to hold an
           individual liable for his own actions taken in the course of his duties).
     D     Both Official and Individual capacity

   If you are asserting an official capacitJ1 claim, please describe the custom, policy, or
   widespread that you believe caused the violation ofyour constitutional rights.




    Claim Number 3:

   Place(s) of
   occurrence:


   Date(s) of occurrence:

   Name of Each Defendant Involved:




  State which of your federal constitutional rights (e.g., excessive force, denial of medical care,
  conditions of confinernent, etc.) orfederal statutory rights have been violated:




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          State here briefly the FACTS that support your case. Describe how EACH DEFENDANT was
          personally involved in the alleged wroneful actions, state whether you were physically injured as a
          result of those actions, and if so, state your injwy and what medical attention was provided to you.
          FACTS:


What
happened
to you?


Who
did
what?




How were
you
injured?




            With regard to claim 3, are you suing Defendant(s) in his/her/their:

             D     Official capacity only (An official capacity claim is the same as suing the governmental
                   entity the Defendant(s) work(s) for and requires proof that a custom, policy, or
                   widespread practice of the governmental entity caused the alleged violation).
             D     Individual capacity only (An individual capacity claim is one that seeks to hold an
                   individual liable for his own actions taken in the course of his duties).
             D     Both Official and Individual capacity

           If you are asserting an official capacity claim, - please describe the custom, policy, or
           widespread practice that you believe caused the violation ofyour constitutional rights.




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  V.       RELIEF

  If you are asking for money damages from the named Defendant(s), indicate below the types of
  damages you are seeking:
       ~ · Compensatory damages (money damages designed to compensate for injuries, such as
           physical pain and suffering, etc., that are caused by the deprivation of constitutional
           rights).
       ~ Punitive damages (designed to punish a defendant for engaging in misconduct and to
           deter a Defendant and others from engaging in such misconduct in the future).
       ~ Other relief ( describe below).




  State briefly what you want the court to do for you. Make no legal arguments. Cite no cases or statutes.
  If you are requesting money damages, include the amounts of any actual damages and/or punWve
  damages you are claiming. Explain why you believe you are entitled to those damages.

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       ,VJ;,                                                                           ~l




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   VI.       PRISONER'S LITIGATION HISTORY

    Have you brought any other lawsuits in state or federal court while a              ~s         □ No
    prisoner?

             If yes, how many?


    Have you brought any other lawsuits in state or federal court dealing with         D Yes      ~
    the same facts as this case?

             If yes, how many?

   Number each different lawsuit below and include the following:
         o   Name of case (including defendants' names), court, and docket number
         o   Nature of claim made
         o   How did it end? (For example, if it was dismissed, appealed, or is still pending, explain
             below.)
         e   The "three strikes rule" bars a prisoner from bringing a civil action or an appeal without paying
             the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or
             detained in any facility brought an action or appeal ... that was dismissed on the grounds that
             it is frivolous, malicious, or fails to state a claim upon which relief may be granted, unless the
             prisoner is under imminent danger of serious physical injury." 28 U.S.C. § 1915(g). To the
            .best of your knowledge, indicate if any of your cases were dismissed because they were
             frivolous, malicious, or failed to state a claim upon which relief could be granted, had a
           • strike assessed, or were dismissed because of the "three strikes rule."




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   VII.     PLAINTIFF'S DECLARATION AND SIGNATURE

   I agree to provide the Clerk's Office with any changes to my address where case-related papers may
   be served. I understand that my failure to keep a current address on file with the Clerk's Office shall
   result in the dismissal of my case.

   I declare under penalty of perjury (18 U.S.C. § 1621) that the foregoing is true and correct

   Plaintiff must sign and date the complaint and provide prison identification number and prison
   address.

   ieJ.. l<k-
    Dated
                          20 -z,(/

                          / //{) IL)
    Printed Name (First, MI, Last)


    Prison Identification#, if any.


    ZLG ~ 9 ~ l?D                                     rn tnHvt             JJv1        J4£ 1195 7
    Prison Address                               City                        State       Zip Code




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                                                                        • U.S. Clerk's Office •·




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